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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION, CINCINNATI

    JOSE MARIA DECASTRO,                                   :    CASE NO. 1:22-cv-00204
                                                           :
          Plaintiff,                                       :    Judge Michael R. Barrett
                                                           :    Magistrate Judge Stephanie K. Bowman
    v.                                                     :
                                                           :    DEFENDANTS PAM WAGNER, BRAD
    PAM WAGNER, ET AL.,                                    :    SPOLJARIC, CHANCE BLANKENSHIP,
                                                           :    EVAN MCNIGHT, ROBERT FOUCH,
          Defendants.                                      :    AND THE CITY OF IRONTON, OHIO’S
                                                           :    COMBINED RESPONSE IN
                                                           :    OPPOSITION TO PLAINTIFF’S
                                                           :    MOTIONS TO RECONSIDER


         Now come Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan McNight,

Robert Fouch, and the City of Ironton, Ohio’s (“the Ironton Defendants”), by and through counsel,

and respectfully request that this Honorable Court deny Plaintiff’s Motions for Reconsideration.

A Memorandum in Opposition is attached hereto.1


                                                          Respectfully submitted,

                                                          SURDYK, DOWD & TURNER, CO., L.P.A.

                                                          /s/ Dawn M. Frick
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                                                          Robert Fouch and the City of Ironton


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  This is a combined response in opposition to Plaintiff’s Motions to Reconsider. It appears that his first Motion for
Reconsideration is directed toward the Ironton Defendants and that his Second Motion to Reconsider is directed at
the County Defendants, but out of an abundance of caution, Ironton Defendants are responding to both.

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                                            MEMORANDUM

I.     INTRODUCTION AND BACKGROUND

       The procedural facts of this case have been thoroughly briefed. Plaintiff Jose DeCastro

(“Plaintiff”) filed the present Motions for Reconsideration on August 16, 2023, and August 18,

2023, (Doc. #49, PGID #566; Doc. #51, PGID #579) requesting this Court reconsider its Order

Granting Ironton Defendants’ Motion for Judgment on the Pleadings (Doc. #47, PGID #557).

Ironton Defendants hereby request that this Court deny Plaintiff’s Motions for Reconsideration as

he is attempting to relitigate issues previously considered by this Court.

II.    LAW AND ARGUMENT

       A. Standard of Review

       Though the Federal Rules of Civil Procedure do not expressly provide for “Motions for

Reconsideration,” Rodriguez v. Tennessee Laborers Health & Welfare Fund, 89 F. App’x 949,

959 (6th Cir.2004), Federal Rule of Civil Procedure 59(e) permits parties to move the court to alter

or amend a judgment within 28 days after the entry of the judgment. F.R.C.P 59(e). However,

motions for reconsideration serve a limited function. “The standard for deciding a Rule 59(e)

motion is well established: Motions to alter or amend judgment may be granted if there is a clear

error of law, newly discovered evidence, an intervening change in controlling constitutional law,

or to prevent manifest injustice.” Dawson-Durgan v. Shoop, No. 1:19-cv-382, 2023 WL 3984600,

at *1 (S.D. Ohio 2023) (internal citations omitted); Pegg v. Davis, No. 2:09-908, 2009 WL

5194436, at *1 (S.D. Ohio 2009). “A clear error of law is the ‘wholesale disregard, misapplication,

or failure to recognize controlling precedent.’” Lifestyle Communities, Ltd. V. City of Worthington,

Ohio, No. 2:22-cv-1775, 2023 WL 5162656, at *1 (S.D. Ohio 2023) citing Oto v. Metropolitan

Life Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000).



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        Motions for reconsideration “are not intended to relitigate issues previously considered by

the Court or to present evidence that could have been raised earlier.” Pegg v. Davis, at *1. (citing

J.P. v. Toft, No. C2-04-692, 2006 WL 689091, at *13 (S.D. Ohio 2006). “A Rule 59(e) motion

may not be used to relitigate old matters, or to raise arguments or present evidence that could have

been raised prior to the entry of judgment.” J.P. v. Toft, at *3 (citing Brown v. City of Syracuse,

2005 WL 2033492, at *1-2 (N.D.N.Y. Aug. 17, 2005).

        Moreover, “[a] motion for reconsideration does not provide [Plaintiff] with an opportunity

to try out new legal theories or submit new evidence previously available to it.” Long Point Energy,

LLC v. Gulfport Energy Corp., No. 2:20-cv-46442023 WL 5318030, at *1 (S.D. Ohio 2023). “A

court will not find a clear error of law when the moving party claims that the court misinterpreted

or omitted key facts.” Nayyar v. Mt. Carmel Health Systems, Nos. 2:10-CV-00135; 2:12-CV-

00189, 2014 WL 619394, at *3 (S.D. Ohio 2014). “Courts disfavor motions for reconsideration

because they consume a court’s scarce time for attention to a matter that has already been decided.”

Dawson-Durgan v. Shoop, at *1.

        In this case, Plaintiff fails to argue reconsideration is necessary on the basis of (1) an

intervening change of controlling law; (2) new evidence not previously available; (3) a need to

correct a clear error; or (4) to prevent manifest injustice. Rather, Plaintiff is seeking reconsideration

from this Court because he does not agree with this Court’s decision. Additionally, Plaintiff seeks

to offer new theories of law and argument not previously made. However, motions for

reconsideration are “aimed at reconsideration, not initial consideration.” White v. New Hampshire

Dept. of Employment Sec., 455 U.S. 445, 451 (1982). Accordingly, Plaintiff’s Motion for

Reconsideration must be denied.




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       B. The Ironton Defendants Had Probable Cause for Plaintiff’s Arrest

       Ironton Defendants had probable cause to arrest Plaintiff for the crime of trespass. This

Court agreed that there was probable cause to arrest Plaintiff for trespass by virtue of Plaintiff’s

own admission when he chose to remain in the building after it closed without the privilege of

doing so. (Doc #47, PGID #561). Plaintiff cannot and has not demonstrated that he had any

privilege to remain at the Ironton City Center after closing. Plaintiff has not identified any statute

that would permit his conduct because no such statute exists.

       There is no factual disputes between the parties. Plaintiff filed his Amended Complaint and

the video of his arrest with this Court (Doc #20, PGID #132; Doc. #20, Exhibit 1). As such, the

Court determined there was probable cause for an arrest for criminal trespass. The criminal trespass

statute in Ohio provides as follows:

       (A) No person, without privilege to do so, shall do any of the following:

           (1) Knowingly enter or remain on the land or premises of another;

           (2) Knowingly enter or remain on the land or premises of another, the use of
               which is lawfully restricted to certain persons, purposes, modes, or hours,
               when the offender knows the offender is in violation of any such restriction
               or is reckless in that regard;

           (3) Recklessly enter or remain on the land or premises of another, as to which
               notice against unauthorized access or presence is given by actual
               communication to the offender, or in a manner prescribed by law, or by
               posting in a manner reasonably calculated to come to the attention of
               potential intruders, or by fencing or other enclosure manifestly designed to
               restrict access;

           (4) Being on the land or premises of another, negligently fail or refuse to leave
               upon being notified by signage posted in a conspicuous place or otherwise
               being notified to do so by the owner or occupant, or the agent or servant of
               either;

           (5) Knowingly enter or remain on a critical infrastructure facility.




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O.R.C § 2911.21(A)(1)-(5). Further, Section 2911.21(B) provides that “[i]t is no defense to a

charge under this section that the land or premises involved was owned, controlled, or in custody

of a public agency.” Finally, the Ohio Revised Code defines “privilege” as “an immunity, license,

or right conferred by law, bestowed by express or implied grant, arising out of status, position,

office, or relationship, or growing out of necessity.” Id. § 2901.01(A)(12). “‘Ohio courts construe

the lack-of-privilege requirement as an element of the offense of criminal trespass, and not an

affirmative defense.’” Skovgard, 448 Fed.Appx. at 544 (quoting Logsdon, 492 F.3d at 342).

       In this instance, based upon the foregoing, the Ironton Defendants had probable cause to

arrest Plaintiff. The city center was closed for the day. Furthermore, it is undisputed that Plaintiff

knew that the Ironton City Center was closed at the time of his arrest but remained in the building.

In his Complaint, Plaintiff acknowledges that “[a]t approximately 5 p.m. a City of Ironton

employee announced that the building was going to be closed and locked.” (Doc. #20, PGID #134-

135). He further acknowledges that Chief Wagner first approached him in the City Center at 5:03

p.m., and that Wagner warned him to leave prior to arresting him. (Id., PGID #135). Thus, by

Plaintiff’s own admission, he remained on the property after closing and refused to leave when

told to do so. Plaintiff [k]nowingly remained on the premises of another, the use of which was

lawfully restricted to certain hours, knowing he was in violation of such a restriction. Therefore,

the Ironton Defendants had probable cause to place Plaintiff under arrest.

       Plaintiff cites to State v. Kilgore, 2d Dist. Montgomery, No. 17880, 2000 WL 770530, at

*3 (Jun. 16, 2000), to bolster his argument that regardless of usual or posted business hours, a

person has a privilege to enter an establishment when it is open to the public. The Kilgore case is

distinguishable in that the court found that there was no evidence that the store’s business hours

were posted and therefore the alleged trespasser was not put on notice that the store was not yet



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open for business when he entered through an unlocked door. Id. Here, Plaintiff admitted that he

was told by a City of Ironton employee that the building was going to be closed and locked. This

notice that the building would no longer be “open to the public,” therefore revoked his privilege.

          Because this Court properly decided that Plaintiff failed to state a claim as to his Fourth

Amendment claim for wrongful arrest, (Doc. #47, PGID #561) and Plaintiff’s motion does not

argue that there has been (1) an intervening change of trespass law; (2) new evidence not

previously available; (3) a need to correct a wholesale disregard, misapplication, or failure to

recognize controlling precedent.; or (4) to prevent manifest injustice, Plaintiff is not entitled to

relief.

          In the alternative, Plaintiff now wants to argue for the first time that even if Defendants

established probable cause to arrest him, the trespass statute is inherently unconstitutional and that

the statute may be void for vagueness or overly broad. (Doc. #49, PGID #570). Additionally, he

claims that while probable cause may exist, “officers typically exercise their discretion not to do

so, and so exercised their discretion to arrest Plaintiff because of retaliation.” (Doc. #49, PGID

#570).

          Plaintiff is not only asking this Court to reconsider arguments already raised, pled and

decided but he also requests that this Court give initial consideration of issues he failed to raise

prior to judgment. See Norfolk Southern Railway Co., v. Baker Hughes Oilfield Operations, LLC,

No. 2:19-cv-3486, 2022 WL 1793145, at *1 (S.D. Ohio Jun. 2, 2022). As stated above, a motion

for reconsideration does not provide Plaintiff with an opportunity to try out new legal theories.

          Plaintiff further attempts to argue that a party cannot move for a Motion for Judgment on

the Pleadings until after the pleadings have closed and that no answers have been filed. This is

clearly false. Plaintiff proceeding pro se, filed his original complaint in the instant case on April



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13, 2022. (Doc. #1) Ironton Defendants filed their answer to the Complaint on May 11, 2022.

(Doc. #12) Ironton Defendants filed a Motion for Judgment on the Pleadings on June 21, 2022

(Doc. #13). Plaintiff never filed a response to this motion, and as such, this Court issued Order to

Show Cause on July 21, 2022, regarding the Ironton Defendants’ Motion for Judgment on the

Pleadings. (Doc. #17) Plaintiff filed a Response to the Court’s Order to Show Cause on August

11, 2022. (Doc. #18) This Court subsequently afforded Plaintiff a thirty-day extension of time to

respond to the pending dispositive motion, or in the alternative, to file his first amended complaint.

Plaintiff filed his First Amended Complaint on September 15, 2022. (Doc. #20). Thereafter, the

Ironton Defendants filed an answer to the First Amended Complaint on September 29, 2022. (Doc.

#22).

          C.     Plaintiff’s Claim of First Amendment Retaliation Fails As A Matter Of Law

          This Court, having concluded that officers in this case had probable cause to arrest Plaintiff

for the crime of trespass, ruled that Plaintiff’s retaliatory arrest claim fails. (Doc #47, PGID #564)

(citing Nieves v. Bartlett, 587 U.S. __, 139 S.Ct. 1715, 1725 (2019) and Hartman v. Thompson,

931 F.3d 471, 484 (6th Cir. 2015)). Plaintiff attempts to distinguish the present case with case law

cited by this Court, arguing that “those cases involved summary judgment motions, where a

showing of evidence is appropriate,” and that “requiring a showing of evidence at this stage in the

pleading is inappropriate.” (Citing Wesley v. Campbell, 779 F.3d 421, 428 (6th Cir. 2015). (Doc

#49, PGID #571). However, based upon the pleadings and the video recording Plaintiff attached

thereto, the Court determined that it was clearly established that no material issues of facts

remained to be resolved and therefore the Ironton Defendants were entitled to judgment as a matter

of law.




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       In Wesley v. Campbell, the court held that the Plaintiff’s false-arrest claim was incorrectly

held to a higher pleading standard (calling for a substantial showing) rather than what is required

under Rule 12(b)(6) and was wrongfully dismissed by the lower court. The Sixth Circuit identified

the proper standard for surviving a motion to dismiss in that a plaintiff must show “more than a

sheer possibility that a defendant acted unlawfully.” Id. citing Ashcroft v. Iqbal, 556 U.S. 662, 678,

129 S.Ct. 1937 (2009). Plaintiff states that he is only required to plead facts and not make legal

conclusions, but he has failed to assert any facts supporting a lack of probable cause and has,

instead, made admissions to the contrary. “Although the court must accept well-pleaded factual

allegations of the complaint as true for purposes of a motion to dismiss, the court is not bound to

accept as true a legal conclusion couched as a factual allegation.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555, 127 S.Ct. 1955 (2007), see also Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937,

1949 (2009). Further, as this Court noted, even when the facts as set forth in the Amended

Complaint were taken as true, a motion for judgment on the pleadings may be granted if the moving

party is nevertheless clearly entitled to judgment. (Doc. 47, PgID 559 citing JPMorgan Chase

Bank, N.A. v. Winget, 510 F.3d 577, 582 (6th Cir. 2007) (quoting S. Ohio Bank v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 479 F.2d 478, 480 (6th Cir. 1973))

       Plaintiff’s “belief” that he was arrested out of retaliation is irrelevant. Regardless of his

belief and/or any alleged evidence he argues will come out during the discovery phase regarding

a particular officer’s state of mind, as a matter of law, the Ironton Defendants had probable cause

and thus by law, his claim fails. See Devenpeck v. Alford, 543 U.S. 146, 153, 155, 125 S.Ct. 588

(2004). Again, as this Court has pointed out, Plaintiff has failed to point to any legal authority that

the officers in this case should have escorted him off the property instead of arresting him. (Doc.

#47, PGID #561) Plaintiff has failed to allege facts demonstrating he had any privilege to remain



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at the Ironton City Center after closing or that there was retaliation. As such, this Court properly

determined there was no basis for Plaintiff’s claim of a retaliatory arrest.

       D.      Plaintiff was Provided an Adequate State Remedy

       Plaintiff was provided an adequate state remedy and therefore was not denied due process.

If an adequate post-seizure remedy is available, then the due process clause is not violated. Plaintiff

did not plead that he was not provided an adequate post-deprivation remedy. Plaintiff filed a

replevin action in the state court for the return of his cell phone. Ironton Defendant Pam Wagner

returned Plaintiff’s cell phone in that action. (Doc #23, Exhibit D). An Entry by Judge Kevin J.

Waldo in Plaintiff’s replevin action stated, in relevant part:

              The Court observed the Defendant, Ironton Police Department
       representative, Pam Wagner, return to the Plaintiff, Jose DeCastro, the IPhone 12
       Max, subject of the Replevin action, herein.

              Therefore, the Plaintiff has obtained possession of the subject property and
       no evidence was presented as to any damages, thus, the case herein, is DISMISSED
       with prejudice.

Thus, through the replevin action (the state remedy), Plaintiff was successful in his attempt to have

his cell phone returned. Furthermore, the Ironton Municipal Court Judge found that there was no

evidence presented as to any damage to the cell phone. Plaintiff did not plead that he objected to

that finding by Judge Waldo during his replevin action hearing. Plaintiff could have, but failed to,

report the alleged damages at that time despite being afforded an opportunity in that case.

       This Court found that the Plaintiff failed to allege that the state remedies available to him

were inadequate. Plaintiff may dislike the fact that his cell phone was confiscated following his

arrest and he may dislike the fact that he had to file a replevin action, but state remedies, such as

replevin proceedings under state law, are an adequate remedy for individuals seeking property that




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has been seized by police. International Metal Trading Inc. v. City of Romulus, Mich., 438

Fed.Appx. 460, 463 (6th Cir. 2011).

       Again, Plaintiff does not argue in his motion that there is newly available evidence or a

change in controlling law. Plaintiff does not argue reconsideration is necessary to correct manifest

injustice. Plaintiff is merely reiterating arguments previously raised and therefore this Court should

deny reconsideration.

       Furthermore, this Court properly found that there are no facts alleged by Plaintiff that

would support a claim that Ironton Defendants searched his cell phone, concluding that his Fourth

Amendment claim failed. (Doc. #47, PGID #562). This Court noted that the municipal court judge

found that probable cause existed to take the phone and that there is no evidence that Ironton

Defendants searched Plaintiff’s phone or in any way disregarded the court’s denial of Ironton

Defendants’ application for a search warrant. (Doc. 47, PgID 561-62 citing Doc. 23-3, PgID 213.)

Plaintiff has not provided argument or fact not previously available to him to justify this Court’s

reconsideration. Rather, Plaintiff disagrees with this Court’s decision and wants another bite at the

apple to litigate his failed claims. This Court should deny Plaintiff’s motions.

       E.      This Court Properly Exercised Its Discretion

       Courts have discretion to allow a Plaintiff an opportunity to amend their pleadings. Brown

v. Matauszak, 415 F.App’x 608, 615 (6th Cir. 2011). The decision to grant or deny a plaintiff leave

to amend his complaint pursuant to Rule 15(a) “is committed to the district court's sound

discretion.” Moore v. City of Paducah, 790 F.2d 557, 559 (6th Cir.1986). Although Rule 15(a)

provides that leave to amend “shall be freely given when justice so requires,” a district court may

deny leave to amend in cases of bad faith, dilatory motive, or undue prejudice to the opposing




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party. Foman, 371 U.S. at 182; Gen. Elec. Co. v. Sargent & Lundy, 916 F.2d 1119, 1129 (6th

Cir.1990).

       In fact, this Court provided Plaintiff with such an opportunity. As outlined above, after

Plaintiff filed his Complaint (Doc. #1), Ironton Defendants filed their first Motion for Judgment

on the Pleadings (Doc. #13, PGID #88; Doc. #15, PGID #106). Plaintiff failed to respond. This

Court issued Show Cause Orders (Doc. #16, PGID #123; Doc. #17, PGID #125) and ultimately

exercised its discretion to allow Plaintiff to either respond to Ironton Defendants Motion or to file

an Amended Complaint (Doc #19, PGID #131). Plaintiff elected to file an Amended Complaint

(Doc. #20, PGID #132).

       Plaintiff was on notice as to any deficiencies in his Complaint based upon the Ironton

Defendants’ initial Motion for Judgment. In response to this Court’s Show Cause Orders, Plaintiff

stated that he was “committed to prosecuting this litigation and in anticipation of any of defenses’

response, and has been working diligently to amend his complaint.” (Doc. # 18, PGID #128, ¶5).

However, based upon the undisputed facts, Plaintiff was unable to plead any additional facts to

cure his deficiencies and thus, a further amendment would have been futile.

       Again, because Plaintiff fails to argue that this Court should reconsider this claim under

any of the proper bases established by case law, his request for reconsideration must be denied.

III.   CONCLUSION

       Based upon the foregoing, and the arguments set forth in the Motion for Judgment on the

Pleadings (Doc. 23) and their Reply in Support of their Motion for Judgment on the Pleadings

(Doc. 36), the Ironton Defendants respectfully request that this Court deny Plaintiff’s Motions for

Reconsideration.




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                                               Respectfully submitted,

                                               SURDYK, DOWD & TURNER CO., L.P.A.

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                                               Chance Blankenship, Evan McNight, Robert
                                               Fouch, and the City of Ironton, Ohio

                                 CERTIFICATE OF SERVICE

        I hereby certify that on Sept 6, 2023, I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system, a copy of which will automatically be forwarded to
the parties or their counsel of record.

                                                /s/ Dawn M. Frick_________
                                                Dawn M. Frick (0069068)




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